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City NATIONAL BANK
The way up.

DISBURSEMENT REQUEST AND AUTHORIZATION

ita : LP ,

ces in the boxes above are for Lender's use only and do not limit the applicability of this document to any particular loan or itern.
Any item above containing “***" has been omitted due to text length limitations.

Referen

Borrower: BEVAN COONEY Lender: City National Bank, a national banking association
C/O FULTON & MEYER Entertainment Department - Team Wheeler
16030 VENTURA BOULEVARD, SUITE 240 400 North Roxbury Drive, Third Floor
ENCINO, CA 91316 Beverly Hills, CA 90210

LOAN TYPE. This is a Preferred Variable Rate Disclosable Open-end Line of Credit Loan to an Individual with a Credit Limit of $100,000.00.

PRIMARY PURPOSE OF LOAN. The primary purpose of this loan is for:
& Personal, Family, or Household Purposes or Personal Investment
C1 Business (including Real Estate Investment).

SPECIFIC PURPOSE. The specific purpose of this loan is: PERSONAL EXPENSES.

DISBURSEMENT INSTRUCTIONS. | understand that no loan proceeds will be disbursed until all of Lender's conditions for making the loan have
been satisfied. Please disburse the loan proceeds of $100,000.00 as follows:

Undisbursed Funds: $100,000.00

Credit Limit: $100,000.00

LOAN PROCEEDS. Any telephone requests for advances against this Credit Line shall be credited to account number 112-236775 in the name
of Bevan Troy Cooney Family Trust dated October 26, 2011 at City National Bank.

FINANCIAL CONDITION. BY SIGNING THIS AUTHORIZATION, | REPRESENT AND WARRANT TO LENDER THAT THE INFORMATION
PROVIDED ABOVE IS TRUE AND CORRECT AND THAT THERE HAS BEEN NO MATERIAL ADVERSE CHANGE IN MY FINANCIAL CONDITION
AS DISCLOSED IN MY MOST RECENT FINANCIAL STATEMENT TO LENDER. THIS AUTHORIZATION IS DATED FEBRUARY 17, 2015.

SIGR RROWER:
HERE™
* BEVAN COONEY

CREDIT INSURANCE DISCLOSURE

VOLUNTARY CREDIT INSURANCE. CREDIT LIFE INSURANCE, CREDIT DISABILITY INSURANCE AND INVOLUNTARY UNEMPLOYMENT
INSURANCE ARE NOT REQUIRED TO OBTAIN CREDIT.

By signing below, | acknowledge that | am not obtaining credit insurance for this loan for one of the following reasons:
(A) | am not eligible for credit insurance;
(B) Credit insurance Is not available from Lender; or
(C) If 1 am eligible and credit insurance Is available from Lender, | do not want It.

Prior to signing this Credit Insurance Notice on February 17, 2015, | read and understood all of the provisions of this Disclosure.

"BEVAN COONEY

Leow Pro, Ver, 145.10004 Cop O+H USA Comporstion 1007, 2075 Al Rights Resewed. - C4 TACFRLPLIZLFC TR-G0210 PRD

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